Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 1 of 17

EXHIBIT A
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 2 of 17

eR WwW fh

N DD OM

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: C.A. No. 04-10981-PBS
NEURONTIN MARKETING AND

SALES PRACTICES LITIGATION Courtroom No. 14
1-Courthouse Way

Boston, MA 02210

Ne ee

AUGUST 1, 2005

2 p.m.

BEFORE THE HONORABLE LEO T. SOROKIN

UNITED STATES MAGISTRATE JUDGE

VALERIE A. O'HARA

OFFICIAL COURT REPORTER

 

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 3 of 17

BR W Rh

on

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

 

 

APPEARANCES;
For the Plaintiffs:

Finkelstein & Partners, LLP, by ANDREW G. FINKELSTEIN,
ESQ. and KENNETH B. FROMSON, ESQ., 436 Robinson Avenue,
Newburgh, New York 12550;

Robins, Kaplan, Miller & Ciresi, LLP, by ANNAMARIE A.
DALEY, ATTORNEY, 2800 LaSalle Plaga, 800 LaSalle Avenue,
Minneapolis, Minnesota 55402-2015;

Greene & Hoffman, P.C., THOMAS M., GREENE, ESQ., 125
Summer Street, Suite 1410, Boston, Massachusetts 02110;

Cohen, Milstein, Hausfeld & Toll, P.L.L.C., by LINDA P.
NUSSBAUM, ATTORNEY, 150 East 52nd Street, New York, New York
10022;

Lowey, Dannenberg, Bemporad & Selinger, P.C., by
RICHARD BEMPORAD, ESQ., The Gateway, One North Lexington
Avenue, White Plains, New York 10601;

For the Defendants:

Davis, Polk & Wardwell, by JAMES P. ROUHANDEH, ESQ.
and GLEN ALEXANDER KOPP, ESQ., 450 Lexington Avenue,
New York, New York 10017;

Hare & Chaffin, by DAVID B, CHAFFIN, ESQ., 160 Federal
Street, Boston, Massachusetts 02110-1701;

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 4 of 17

KR WO ND

11
42
13
14
15
16
17
18
19
20
21
22
23
24
25

 

 

PROCEEDINGS

THE CLERK: This case is with regard to Neurontin,
Civil Action No. 04-10981 will now be heard before this
Court. Will counsel please identify themselves for the
record.

THE COURT: Hold a minute. Okay, Go ahead, you
can remind me again who you all are.

MR. FROMSON: Good afternoon, your Honor. My name
is Kenneth Fromson here on behalf of the product liability
personal injury plaintiffs. I'm with the law firm of
Finkelstein & Partners.

THE COURT: Good afternoon, Mr. Fromson.

MR. FINKELSTEIN: Andrew Finkelstein, Finkelstein
& Partners,

THE COURT: Good afternoon, Mr. Finkelstein.

MR. GREENE: Good afternoon, your Honor, Thomas
Greene for the class plaintiffs.

THE COURT: Good afternoon, Mr. Greene.

MR. BEMPORAD: Good afternoon, your Honor, Richard
Bemporad from Lowey, Dannenberg, Bemporad & Selinger, P.c.
We represent Aetna, Inc., and I'll be speaking on behalf of
the coordinated plaintiffs.

THE COURT: Okay.

MS. NUSSBAUM: Linda Nussbaum, your Honor. We

represent the coordinated plaintiffs.

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 5 of 17

Be Ww Nd

on

10
11
12
13
14
15
16
17

18°

19
20
21
22
23
24
25

87

 

never ruled as to files. We say, well, what they read into
his order is completely different. He didn't have the Kibby
affidavit in front of him. He didn't have what your Honor
has in front of him to address this issue, so I don't think
that he ruled on this issue, and, again; I think coming back
and trying to argue irrelevant disputes from the Franklin
case and to argue from these prior orders I think is an
indication of the weakness of their claims, they're not
focusing on what they should be focusing on, which is what
facts they've alleged in there and what they haven't alleged
in there, and we don't think they're sufficient under the
relevant law and under 26(b)(1) which they cite no
authority, and they're not entitled to the massive discovery
they're seeking.

THE COURT: Okay.

MR, ROUHANDEH: Thank you.

THE COURT: Thank you. Requests for admissions,
my inclination is Mr. Himmelstein is going to argue that?

MR. FINKELSTEIN: Yes. As far as I know, he had
engaged in some discussion with Mr. Rouhandeh.

THE COURT: Do you know why he's not here today?

MR. FINKELSTEIN: JI thought this was the only
motion on as he did as well.

MR. ROUHANDEH: On that issue, I discussed with

him that we needed to get it resolved by Monday. I was

 

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 6 of 17

& WwW N

“XN OD OM

40
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

68

 

 

under the impression we were arguing --

THE COURT: I was under the impression if you
hadn't resolved it, we would address it today. My strong
inclination on the requests for admissions are basically to
order that what I suggested last time bécause it seemed
reasonable, and nobody would really jump up and down and
complain about it. JI guess what I'm going to do since
Mr. Himmelstein is not here is suggest this:

I think what seems to me ought to happen is that
the requests for admission ought to be -- that the
defendants should not have to respond to those requests now.
As I understand it, the requests for admissions that have
been propounded seek an admission with respect to every
document in the Franklin, 1, that the document is a business
record of the defendants; and, 2, it is authentic within the
meanings of the rules of evidence,

I think that that request multiplied 24,000 or
44,000 times, whatever it is, at this stage is overbroad and
inefficient, and instead what should happen is those
requests the defendants don't have to respond to whether I'm
granting a protective order or whether the plaintiffs are
going to withdraw them, and at a later stage in this
proceeding after a substantial portion of the discovery has
been completed, there will come a time in the schedule when

the plaintiffs will need to identify those documents that

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 7 of 17

N @O8 OF BP W BD

oO oO Ow

12
13
14
15
16
17
18
19
20
21
22
23
24
25

69

 

 

they intend to rely upon, and they will then, it seems to
me, produce a list of those documents to the defendants or
among the documents and ones they believe that meet the
criteria are authentic business records of the defendants,
and they will give them to the doctors at which point the
defendant will either say yes or no, that, yes, it meets
both, it's authentic and a business record or no, it's
not.

If there's disagreements, if you resolve them all,
there won't be need for requests for admission, and if
there's disputes about them, then there's going to be
disputes about a far smaller number of documents because,
first of all, Plaintiffs receive documents beyond the 44,000
so they might want admissions with respect to those, and
many of these 44,000 may not be relevant at that point as to
the ones that are in dispute. If it has to be, if the
parties can't reach an agreement, then you can take, my
inclination would be that you take deposition discovery just
as to those two questions, just as to the documents the
defendant didn't agree to. The ones that are in dispute,
you're entitled to dispute them, you're entitled to take
some discovery on them, especially at that point when you
know what documents you want to rely upon.

You people had worked out I think a two-day limit

on depositions. It would seem to me I would view this as

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 8 of 17

NN OO MO BP WO PN

oO oOo oo

12
13
14
15
16
17
18
19
20
21
22
23
24
25

70

 

separate, take your two days on a witness now and later, if
you had to, you get to depose that person again with respect
to the documents, then the deposition is only, and that just
goes to the question about the business authentication,
which is I think a little more detail we laid out when we
were here last time. That would be my inclination as to
suggest it to be done in the absence of an agreed proposal.

Since Mr. Himmelstein is not here, what I'm going
to do is say that I'll tell you that's my tentative view.
I'm not going to memorialize that in an order now.
Mr. Rouhandeh, from your perspective, is that something
you're willing to agree to?

MR. ROUHANDEH: Just one clarification, your
Honor, on that issue. In terms of the two-day deposition,
it seems to me it doesn't make any sense to let them depose
somebody a second time if they already had those documents
at the time they initially deposed someone. Now, if they
say, look, it's going to take more than two days to depose
someone for documents, shouldn't they have to try to
authenticate documents and go through the business records?

THE COURT: The reason I was thinking about this
is this, at least 44,000, because there -are 44,000 documents
that are referenced in the admissions.

MR. ROUHANDEH: 22,000.

THE COURT: If there's 22,000 documents, I suppose

 

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 9 of 17

eR WwW NY

an

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
20

71

 

 

some of these documents are multiple pages, and there's
information on them, there's all sorts of issues that could
arise. They might not know at the time they take the
depositions about which documents they want to use, and so
to the extent they're going to take discovery on it,
deposition discovery, they got to do it during the
depositions. It's going to inevitably force them, if they
prove, to take deposition discovery with respect to
documents that they in the end, they're not going to rely
on, which is going to put them through a burden, it's going
to put Pfizer to a burden, it's going to put you through a
burden.

It seems to me in my judgment .that level of burden
is likely to be greater than at the end of the day, not at
the very end of the case, but at some further down-the-road
point when they focused in on all the discovery which
documents they're going to rely upon and you decided which
ones there isn't really a real issue about and ones that you
identify there is a real issue about in this case, then a
much narrower set, and the amount of deposition time likely
to be taken to deal with those I would think would be much
less because you may say there's an issue about these
hundred and they may explain why, and at which time they say
we see what you're saying about some of these, and they give

up on some percentage of that one hundred because they

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 10 of 17

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

72

 

 

realize it doesn't make sense or it's not important to
them.

MR. ROUHANDEH: Your Honor, my only concern is
that it may put off to the day when this later point comes
along they may have a bigger, it won't be a request to
admit, it will be stipulate as to these documents in a row.
We are producing more documents before 1998, and that's just
simply not how it's done in general litigation. It's really
done, you take the deposition of the witness with the
documents that you would have.

I understand if we later produce a document they
didn't have at the time of the deposition, they're
inevitable arguments about the documents, do we get to open
up the deposition again? That's a separate issue here,

They ought to try to authenticate the documents, establish
they're business records through the depositions. If they
get to the end of the day --

THE COURT: Here's what I'm going to do, I
understand what you're unhappy with. This is my tentative
view. It's not memorialized in any way. Is Mr. Himmelstein
the person designated?

MR. GREENE: He is, your Honor.

THE COURT: You go talk to Mr. Himmelstein. If
you guys come to terms about how to come to a different set

of terms that seems reasonable about how to resolve the

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 11 of 17

N FO OF BP W ND

oOo Oo a

12
13
14
15
16
17
18
19
20
21
22
23
24
25

13

 

 

situation, come to an agreement, that's going to be probably
fine with me. If you don't reach an agreement by the end of
today is Monday, if you don't reach an agreement by a week
from today, then you file something that proposes simply
what you propose, all right.

You want to propose something different, you
propose it sounds like that no request for admission and
they just do, take in all their depositions now and they
will propose either what I've outlined or they'll propose
something different, I don't know. I'll think about what
you're saying, and they may say they're willing to do that,
but then they want two and a half days. I'm not sure.

MR. ROUHANDEH: That's fine.

THE COURT: Don't file more briefing, just file
this is what you propose and you can say, and that's all.
That's enough. I understand what the issues are, then I'11
take yours or theirs, or I'll make my own up in between.

MR. ROUHANDEH: That's fine,

MS. NUSSBAUM: Your Honor, I think the concern and
why Plaintiffs served these requests earlier rather than
later here is because otherwise we have many different
constituencies here who are going to be sharing this very
limited amount of deposition time of the witnesses in
common, and documents that I may need to authenticate or

want as business records may be quite different than yours

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 12 of 17

a B&F WwW RD

Oo)

14
12
13
14
15
16
17
18
19
20
21
22
23
24
25

74

 

 

and quite different than yours, and none of us want to spend
the bulk of those depositions going through the litany of
questions, but, you know, I thought that your suggestion of
the two-day deposition of a custodian of records as to when,
maybe what we could do is a two-day deposition of a
custodian of records now before we start the depositions on
the merits because it may be that large groups of thege
documents, large groups of minutes of regularly health
committees and meetings and the like can simply in a
custodian-type deposition up front be authenticated.

THE COURT: That's what you can talk to
Mr. Himmelstein on. You're free to propose any sort of
reasonable solution whether you want to agree with them or
not, either of you. Mr. Rouhandeh, suppose I agree with you
on that principle that it should be done, there shouldn't be
two phases, I propose, why shouldn't they at that point,
they get through, then it's a question do they do it in the
form of admissions, or do they do it in the form of
depositions? Then my question to you is in a sense, since
it still comes back to fundamentally the same question,
which is a lot of these documents presumably you'd agree are
authentic as business records and many of them you'd
probably say no, they're not or you don't know.

Why isn't it more efficient even though it blows

through the limits and the rules, but the fact of the

 

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 13 of 17

40
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

75

 

nN © oO BP W Pf

 

matter, we're efficient here. Why isn't it more efficient
and do it as an admissions, most of them, as opposed to
doing all of them by deposition?

MR. ROUHANDEH: TI think they arguably could be
done by stipulation, but I thought where we were going at
the last hearing was, the defendants would -- and tf think
this first speaks to the same -- during the depositions, try
to establish business records with respect to the documents
of the witnesses whose depositions we're going to take. You
get to the end of the case, typically what happens is
there's a pretrial order that has to be prepared. Both
Sides will ask the other side to stipulate with respect to
authenticity, business records with respect to a host of
documents, then this is the piece where it kind of depends
on the case.

If at that point, you know, there's a bunch of
issues in dispute, if it's a small number of issues and the
witnesses are going to testify at trial anyway, sometimes it
gets wrapped up and it's done at trial. A lot of judges
don't want to spend very much time during trial addressing
those issues. I think the way that that could be dealt
with, they would simply have to seek leave to take
depositions related solely to those issues, but they would
have to ask for leave. They wouldn't just be able to do it

because if they do it to us, again, we could appear and say,

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 14 of 17

~N Dm OO FP W PN

co

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

76

 

 

well, we still don't know what we want.

THE COURT: That's not my understanding what I
outlined last time. My understanding what I outlined last
time, now maybe it might not have been clear or people might
have understood it differently, which is fine, but I'm only
saying I've outlined one way to go about it. It strikes me
as reasonable. There's clearly other ways to do it. You
talk to Mr. Himmelstein, you guys can reach an agreement
that is different from what I propose, if it's reasonable,
I'll sign it. If you guys don't reach an agreement, then
you each can propose competing proposals and I'll review
them and I'll decide.

My sort of what I'm thinking about, it seems to me
I'm thinking about what's reasonable in sort of resolving
it, and my gut impression is that I can't believe all of you
are going, all of you, I don't mean just the defense
counsel, I mean all counsel, are going to have serious
disputes of anywhere between 22,000 and 200,000 documents,
and to impose upon what I'm guessing is going to be at least
10 lawyers at any deposition, but potentially way more, and
a witness, this burden of simply going through lots and lots
of documents that aren't going to be disputed just seems to
be a waste of time, and there's got to be a more efficient
way. That's what I'm thinking about.

MR. ROUHANDEH: Just as I understand it, the

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 15 of 17

oO 0 OD NN ODO oO BR WH Pw Hs

MO NM NM DB MD FH |= 2» & Bw 2 mw an 2 un
a fF WO NH = CD GO DOW ~s DB HH BR wD fO 2

77

 

 

period when they've looked back at documents to say is there
anything else, is that prior to the end of discovery?
That's the piece I misunderstood from last time.

THE COURT: I'm assuming it's before summary
judgment, right, you're going to have a close of discovery
date, and then you're going to have a summary judgment brief
of schedule. Either you say discovery goes to here, it's
closed and then you have a period of time for them to
identify all the documents and you have a period of time to
respond, then if there are issues left, you have a window to
do this other authentication business record kind of
depositions. To the extent you take them, maybe you move
that all back, it's within the discovery period. I don't
know. That's nomenclature, I think.

But it seems to me it's before summary judgment
because if they get to summary judgment -and summary
judgment, they've got to produce records, they've got to
have admissible evidence, and I suppose you people think
it's after summary judgment, but I think that that process
would happen before they file their motions for summary
judgment. They file their motions for summary judgment,
whatever is in it, you know, it's agreed, it's a business
record and authentic or you guys know that you both disagree
about it and any discovery that has been done, and then the

Court makes a ruling in summary judgment and its theory in

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 16 of 17

78

 

summary judgment, and then you could impanel the jury. I
know it wouldn't go exactly like that.

MR, ROUHANDEH: I think all that your Honor could
be done by amendment to the case management orders in the
earlier scheduling requests to admit.

THE COURT: That's why I'm suggesting that my
tentative view would grant your motion for protective order,
they'll withdraw them, one or the other would be done, and
you guys can flesh it out or I can flesh it out in an order,
and it would be incorporated. I'ma little frankly confused
by the case management order. I understand the case
management order is more in the nature of like structure as
opposed to a schedule, though it sounds like it's a little
bit of both.

I couldn't care. You can put in the case
management order, you can do it in the form of a request. I
suggested a little while ago we might need a revised
schedule. To the extent that calls for redoing the case
management orders, we redo the case management orders, but
what I'm thinking is trying to resolve these issues and to
the extent it's necessary revise the schedule now to deal
with whatever we anticipated we deal with, however you want
to do this issue, then we'll get a realistic, workable
schedule to work on. That would be my hope and expectation

that barring an unforeseen development that would be the

 

 

 
Case 1:04-cv-10981-PBS Document 1684-2 Filed 02/27/09 Page 17 of 17

oa -& WW KR

oO O Oo NN OD

12
13
14
15
16
17
18
19
20
21
22
23
24
25

79

 

 

schedule we live with.

MR. ROUHANDEH: That's fine, your Honor, we'll
work on a schedule and confer with Mr. Himmelstein and
hopefully have something agreed upon.

THE COURT: You had something you wanted to say,
sir?

MR. FROMSON: Although it may be procedural and
immaterial in nature, we, as the plaintiffs liability
steering committee, were not privy to the negotiations for a
two-day deposition, and obviously we would be equally
concerned about things in this record during that bulk of
time. In addition, as you referenced, they could have way
more attorneys from the various plaintiffs' counsel than the
states, so we would probably be seeking an additional day to
have those depositions completed, where necessary.. I just
didn't want to sit on my hands here today.

THE COURT: I understand that. The three
provisions -- as I read the case management order, the three
provisions in the case management order that are at issue, I
don't have it in front of me. Do you all have to go to
catch planes or what have you?

MR. ROUHANDEH: We're here until your Honor needs
us.

THE COURT: It would be my inclination that I'd

rather at least talk about the case management order now. I

 

 
